           Case: 1:19-cv-02519 Document #: 44 Filed: 07/19/19 Page 1 of 2 PageID #:3726

                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )           Case No. 1:19-cv-02519
              v.                        )
                                        )           Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )           Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Defendant                Merchant Name                          Email
 1031                     skymartjapan                           con.sonrisa.0220@gmail.com
 1124                     wuyishang99                            wuyishang1985@hotmail.com
 1154                     thereisasun                            2092892136@qq.com
 1212                     fuzhouhaoyuecommercecoltd              yefang3227@hotmail.com
 1284                     shenzhen3cqsztechnologycoltd           1455088933@qq.com
 1349                     日昇                                     3199035307@qq.com
 1430                     doublebig                              864696532@qq.com
 1563                     luoluoairpurifierstore                 chenjunbopp020@163.com
 1607                     caramelmacchiato                       caramelmacchiato666@hotmail.com
 1651                     dadadechao                             zmtquo20625777@163.com
 1665                     smarthomebebe                          smarthomebebewishshop@outlook.com
 1728                     bingrongchen                           13033181121@163.com
 1788                     4you                                   wishforyou2017@hotmail.com
 1913                     zaynah2                                3413252122@qq.com
 1969                     tee_shop                               zhiqianghan1016@hotmail.com
 1973                     huashengquanqiu                        mm_creefire@sina.com
          Case: 1:19-cv-02519 Document #: 44 Filed: 07/19/19 Page 2 of 2 PageID #:3726

Dated: July 19, 2019
                                                                Respectfully submitted,

                                                                   By:    /s/ Rishi Nair

                                                                              Rishi Nair
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